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lN THE UNITED STATES DISTRICT COURT 03de ` ~ 0
FOR THE WESTERN DISTRICT OF TENNESSEE """'- ' "'C
EASTERN DIVISION, AT JACKSON /,Tp.,.s _ /°/#' .
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/>!../".:.’» O/@'><;<»>
DOUGLAS M. GRAHAM, individually and as ) b/"'O§§§"`;-:"`,'“
natural father and next of kin of ERIN ) y
GRAHAM, )
)
Plaintiffs, ) No. l-OS- l O40-T/AI1
) IUDGE J ames D. Todd
v_ )
)
VICTORY RANCH )
)
Defendant. )

 

RULE 16(B) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice for June 7, 2005, the

following dates are established as the final dates for:

INITIAL DISCLOSURES (Rule 26(a)(1)): June 21, 2005
JOINING PARTIES:
For Plaintiff: August 5, 2005
For Defendant: September 6, 2005
AMENDING PLEADINGS:
For Plaintiff: August 5, 2005
For Defendant: September 6, 2005
COMPLETING ALL DISCOVERY: February 7, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES,
AND REQUESTS FOR ADMISSIONS (propounded So that
responses are due no later than): February 7, 2006

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(b) EXPERT DISCLOSURE (RULE 26(a)(2)):
(i) Plaintiff‘s Experts: December 6, 2005
(ii) Defendant's Experts: January 6, 2006
(iii) Supplementation under Rule 26(e):
Jauuary 16, 2006

(c) DEPOSITION OF EXPERTS: February 7, 2006

FILING DISPOSITIVE MOTIONS: February 8, 2006

FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):
(a) For Plaintiff: March 24, 2006 or 45 days before trial
(b) For Defendant: April 8, 2006 or 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last days and is SET for JURY TRIAL on
Monday, May 8l 2006, at 9:30 a.m. A joint pretrial order is due on Friday, April 28, 2006. In
the event the parties are unable to agree on a joint pretrial order, the parties must notify the court
at least ten days before trial.

OTHER RELEVANT MAT'I`ERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery All motion or other filings that require a response must be filed
Sufficiently in advance of the discovery cutoff date to enable Opposing counsel to respond by the
time permitted by the Rules prior to that date. For example, if the FRCP allow 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery. No depositions may be scheduled to occur afier the discovery cutoff
date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within thirty (30) days of the default or the service of the response, answer, or objection, which is
the subject of the motion, if the default occurs within thirty (30) days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or the objection to
the default, response, answer, or objection shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)tB), all
motions, except motions pursuant to FRCP 122, 56, 59 and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply

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is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by ali parties, or an emergency arises which precludes the matter from
proceeding to trial. However, the parties DO NOT CONSENT to all matters being conducted by
the Magistrate Judge, including the conducting of a jury trial, if properly demanded, with any
appeal of the verdict to be directly to the Sixth Circuit Court of Appeals, pursuant to 28 U.S.C. §
636(0).

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDERED.

<~>”A

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: YZM¢ Qz amf

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APPROVED FOR ENTRY:

BAKER, DONELSON, BEARMAN,
CALDWELL & BERKOWITZ
A Professional Corporation

By: ¢M:`§ HSW
JillM.St` erg(#ll 3)

Betty Campbell (# 23 547)
165 Madison Avenue

Suite 2000

Memphis, Tennessee 38103
(901) 526-2000

(901) 577-2303 » Facsimile

 

APPROVED FOR ENTRY:

\.-

By: M//é/ 1 M" /M_ "‘““ d 59
navid A. McLaughlin (# 15561 M/FQWV‘Z)
THE CoCHRAN FIRM

One Commerce Square
Suite 2600

Memphis, Tennessee 38103
(901) 523-1222

(901) 523~1999 - Facsimile

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case l:05-CV-01040 was distributed by fax, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Betty Campbell

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

David A. McLaughlin
THE COCHRAN FIRM
One Commerce Square
Ste. 2600

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

